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                    8                                    UNITED STATES DISTRICT COURT

                    9                             DISTRICT OF NEVADA, SOUTHERN DIVISION
                   10                                                  ***

                   11 GINA CASTRONOVO-FLIHAN,                             CASE NO. 2:20-cv-1197 -JCM-DJA

                   12                      Plaintiff,                     STIPULATION AND ORDER FOR
                                                                          EXTENSION OF TIME TO FILE AN
                   13             vs.                                     ANSWER TO PLAINTIFF’S
                                                                          COMPLAINT
                   14 STATE FARM MUTUAL AUTOMOBILE
                      INSURANCE COMPANY, a foreign
                   15 company; AND DOES I through V, inclusive

                   16                      Defendants.

                   17

                   18            COMES NOW DEFENDANT STATE FARM MUTUAL AUTOMOBILE INSURANCE
                   19 COMPANY (“State Farm” or “Defendant”), by and through its counsel of record, the law firm of
                   20 LEWIS BRISBOIS BISGAARD & SMITH LLP, and PLAINTIFF, GINA CASTRONOVA-

                   21 FLIHAN, by and through her counsel of record, BROCK K. OHLSON PLLC, hereby stipulate

                   22 and agree that the time for Defendant to file its Answer to Plaintiff’s Complaint be extended as set

                   23 forth herein. Defendant State Farm’s Answer is currently due October 16, 2020. The parties

                   24 hereby stipulate that the due date for Defendant’s Answer be extended to October 23, 2020. The

                   25 parties also stipulate and agree that the extension is for Defendant State Farm to file an Answer

                   26 only, not a Motion to Dismiss.

                   27 …

                   28 …
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP             4811-1958-3951.1
ATTORNEYS AT LAW
                         Case 2:20-cv-01197-JCM-DJA Document 11
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                                                                      10/16/20 Page 2 of 2




                    1                                          Reason for Extension

                    2            Because of the complexity and extent of the allegations and claims made in Plaintiff’s

                    3 Complaint, Defendant requires additional time to prepare its Answer to Plaintiff’s Complaint. This

                    4 stipulation is made in good faith and not for the purpose of delay.

                    5            This is the first extension of time requested for filing Defendant’s response to Plaintiff’s

                    6 Complaint.

                    7      DATED this 16th day of October, 2020.              DATED this 16th day of October, 2020.

                    8      LEWIS BRISBOIS BISGAARD & SMITH                    BROCK K. OHLSON PLLC
                    9
                           /s/ Pamela L. McGaha                               /s/ Ian McMenemy
                   10      ROBERT W. FREEMAN                                  BROCK K. OHLSON
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                   13      Attorneys for Defendant                            6060 Elton Avenue, Suite A
                                                                              Las Vegas, NV 89107
                   14                                                         Attorneys for Plaintiff
                   15

                   16                                                 ORDER

                   17            IT IS SO ORDERED.

                   18            Dated this __ day
                                       October     of 2020
                                                 19,  ______________, 2020.

                   19
                                                                      _______________________________
                   20                                                    U.S. DISTRICT
                                                                      DANIEL           COURT JUDGE
                                                                               J. ALBREGTS
                   21                                                 UNITED STATES MAGISTRATE JUDGE

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LEWIS
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